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   6
     Attorneys for Defendant
   7 sued as George Dikian
   8                             UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10                                             CASE NO. 2:22-cv-04453-AB-MAR
         VPN.COM LLC,
  11                         Plaintiff,
  12                                             DECLARATION OF DEFENDANT
               vs.                               SUED AS GEORGE DIKIAN IN
  13                                             SUPPORT OF DEFENDANT’S
                                                 MOTION TO PROCEED UNDER
         GEORGE DIKIAN et al.                    PSEUDONYM
  14
  15                        Defendants.
  16
  17         I am the Defendant real party in interest that has been sued in this matter as
  18 George Dikian. I swear under penalty of perjury that the following facts are true
  19 and correct to the best of my knowledge:
  20
             1. George Dikian is a professional alias and pseudonym that I have used for
  21
                 some 25 years, in order to protect my personal and family privacy and
  22
                 safety, and my many very valuable domain name properties.
  23
  24         2. Those properties include all of the domains listed in the Complaint in this
  25             matter, including 89.com and the list of 95 numeric domains in Annex A.
  26             I also own hundreds of other similarly valuable domains not mentioned
  27             by Plaintiff.
  28 Declaration of Defendant Sued As George Dikian ISO
       Defendant’s Motion to Proceed Under Pseudonym
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   1         3. I am 67 years old, with a wife of 40 years. For about 25 years since I
   2             started buying domain names, I have feared for my personal and family
   3             safety, and for loss of my valuable properties, in the event that my real
   4             name is publicized as the owner of those properties. This is why I have
   5             used the Dikian public alias consistently for as long as I have owned
   6             many of these properties. Many people in the domain name industry use
   7             aliases, I assume for the same reasons as me.
   8
             4. I did not communicate with Plaintiff about 89.com or any other domain
   9
                 names until May 2022 when I was alerted by Plaintiff of the scam that
  10
                 Plaintiff alleges. I have never heard of the “Intermediar” escrow
  11
                 company until I got Plaintiff’s Complaint.
  12
  13         5. I had no part in the scam that Plaintiff alleges. I am retired, and have no
  14             financial need to scam anyone out of any amount of money. Plaintiff
  15             says that $250,000 in bitcoin was stolen. But I have never owned or
  16             received any bitcoin or other crypto currency, and I have no idea how to
  17             spend it even if someone gave it to me.
  18
             6. I have learned that my Yahoo! Mail account g.dikian@yahoo.com, which
  19
                 I have used as the main public email address for George Dikian for about
  20
                 25 years, was hacked into by criminals using an ISP in Portugal and a
  21
                 VPN in Europe. I was not in Europe at any such time, and I did not ever
  22
                 login from the ISP in Portugal or the VPN in Europe. I have never used a
  23
                 VPN and did not even know what a VPN is until I was sued by Plaintiff
  24
                 VPN.com.
  25
  26         7. I believe that my valuable domain names would have been stolen by the
  27             email hackers, if not for my use of the Dikian public alias. The criminal
  28 Declaration of Defendant Sued As George Dikian ISO
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   1             hackers that accessed the Dikian email account could not also access my
   2             domain registrar account, because the registrar account is created under
   3             and tied to my real identity and personal email address. That is required
   4             by the registrar since regular payments are made to the registrar to
   5             maintain registrations of my domain properties.
   6
             8. The registrar Tucows knows my real name and contact information. So
   7
                 does Escrow.com which I have used for many years for almost all of my
   8
                 domain transactions. I have provided my driver’s license to Plaintiff,
   9
                 which shows my name and address. I have authorized my attorney Mike
  10
                 Rodenbaugh to provide it to the Court and to comply with any court
  11
                 order about my identity.
  12
  13         9. The extra layer of security provided by the Dikian alias has been critical
  14             to protecting my valuable properties from theft. If the Court requires me
  15             to reveal the true identity of Dikian publicly, then I believe I am very
  16             likely to become a direct target of domain name thieves in the future.
  17
             10. In addition to my safety concerns, the Dikian alias is of great commercial
  18
                 value to me. I have used it in my domain investment and reselling
  19
                 business for some 25 years, and it is very well-known and reputable in
  20
                 the domain name industry.
  21
  22         11. Until the Dikian email account was compromised, I never received any
  23             complaint about any of my activities as George Dikian. If the court
  24             forces the public reveal of Dikian’s true identity (of my real name), then
  25             the value of that alias – my hard-earned professional reputation -- will be
  26             completely destroyed. Also, my personal reputation will be permanently
  27             injured because then my real name will be tied to Plaintiff’s false
  28 Declaration of Defendant Sued As George Dikian ISO
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   1             accusations against me. Even when I win the case, if my real name is
   2             revealed then the damage already will be done.
   3
             12. If somehow this Honorable Court finds that I did anything wrong and
   4
                 enters a judgment in Plaintiff’s favor, and if I appeal and lose, then I
   5
                 understand and agree that the final judgment will be entered against my
   6
                 real name.
   7
   8 RESPECTFULLY SUBMITTED,
   9
       DATED: JULY 21, 2023
  10
  11                                         By: [REDACTED]
                                                  Defendant sued as George Dikian
  12
  13 ATTESTATION
  14
     Undersigned counsel hereby attests that I have reviewed the contents of this
  15 Declaration with my client, sued in this matter as George Dikian, and whose true
  16 identity I have verified to the best of my ability. My client swears to the truth of
     the statements made herein, consents to the filing of this sworn Declaration, and
  17 has authorized me to confidentially furnish proof of his identity to the Court in any
  18 appropriate manner, at any time.
  19
  20         Mike Rodenbaugh (SBN 179059)
  21         RODENBAUGH LAW

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  27
  28 Declaration of Defendant Sued As George Dikian ISO
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